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                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                               AUGUSTA DIVISION


UNITED STATES OF AMERICA

             V.                            INDICTMENT NO. l:19-cr-00022

BRANDON JERMAL JENKINS



                                    ORDER


      Based on the Government's motion, leave of court is granted for the dismissal

with prejudice, from Indictment No. CR 119-022 as to Defendant Brandon J. Jenkins.

      So ORDERED,this, /5^^day of                               2019.



                                                         CHIEF JUDGE
                                     UNITEJ!) STATES DISTRICT COURT
                                                   DISTRICT OF GEORGIA
